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lN THE UN|TED STATES DlSTRlCT COURT
FOR THE EASTERN DlSTR|CT OF PENNSYLVAN|A

JOSHUA H. STULl\/|AN,

Plaintiff, Civil Action No. 07~1530
v. - .
PENNSYLVAN|A STATE UN|VERS|TY, Complaint filed: April 17, 2007
CHARLES GAROlAN, in his individual
and official capacities ROBERT : Honorab|e Lawrence F. Stengel

YARBER, in his individual and official
capacities and GRAHAl\/l B. SPANlER,
in his official capacity,

Defendants.

ST|PULAT|CN OF DISM|SSAL

Pursuant to Rule 41(a)(1)(ii) of the Federal Rules of Civil Procedure, it is hereby
stipulated and agreed by the parties hereto that any and all claims in the above-entitled

action are hereby dismissed with prejudice Each party shall bear its own costs.

 

 

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Attorneys for F’laintiff Attorneys for Defendants, The
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Graham B. Spanier

Dated: Dated: dwi/pd ?l ZO€>Y
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Attorneys for Defendants Charles Garoian
and Robert Yarber

Dated: MV/FWYY( za/Waf

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CERTIFICATE OF SERVICE

Thomas M. Goutman hereby certifies that on this date, a copy of a Stipulation of
Dismissal Was filed electronically and is available for viewing and downloading from the
ECF system and, further, Was served via U.S. Mail, postage prepaid, upon unregistered
parties, as well as upon the following counsel of record:

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Dated: August 20, 2008

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